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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
JAMES CASTILLO,          *
                         *                           No. 12-283V
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: July 28, 2014
                         *
SECRETARY OF HEALTH      *                           Stipulation; Hepatitis B vaccinations;
AND HUMAN SERVICES,      *                           transverse myelitis (“TM”).
                         *
             Respondent. *
*********************

Monika A. Hartl, Worker’s Compensation Law Offices of Milwaukee, SC,
Milwaukee, WI, for Petitioner;
Julia W. McInerny, United States Dep’t of Justice, Washington, DC, for
Respondent.

                              UNPUBLISHED DECISION1

       On July 23, 2014, respondent filed a joint stipulation concerning the petition
for compensation filed by James Castillo on May 4, 2012. In his petition, Mr.
Castillo alleged that the hepatitis B vaccines, which is contained in the Vaccine
Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he received on May 11,
2009 and June 11, 2009, caused him to suffer transverse myelitis (“TM”).
Petitioner further alleges that he experienced the residual effects of this injury for
more than six months. Petitioner represents that there has been no prior award or
settlement of a civil action for damages on his behalf as a result of his condition.

      Respondent denies that the hepatitis B vaccines caused petitioner’s TM or
any other injury.


       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A. A lump sum payment of $353,766.03, representing compensation for
           first year life care expenses ($18,834.82), lost earnings ($141,243.21),
           pain and suffering ($175,000.00), and past unreimbursable expenses
           ($18,688.00), in the form of a check payable to petitioner, James
           Castillo; and

        B. An amount sufficient to purchase the annuity contract described in
           paragraph 10 of the attached stipulation.

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 12-283V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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